                                     Case 17-16011          Doc 224   Filed 06/02/21 Entered 06/02/21 18:06:56                    Desc Main
                                                                       Document     Page 1 of 5
                                                                                    Form 1                                                                              Page: 1

                                                           Individual Estate Property Record and Report
                                                                            Asset Cases
Case Number:         17-16011 DDC                                                           Trustee: (330129)           Ira Bodenstein
Case Name:           I LOAD, INC.                                                           Filed (f) or Converted (c): 07/19/17 (c)
                                                                                            §341(a) Meeting Date:       08/29/17
Period Ending:       03/31/20                                                               Claims Bar Date:            07/18/18

                                 1                                         2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

 1       A/R 90 days old or less. Face amount = $0. Doubt                      0.00                        0.00                                        0.00                    FA
           Orig. Description: A/R 90 days old or less. Face amount
         = $0. Doubtful/Uncollectible accounts = $0.; Imported
         from original petition Doc# 31

 2       A/R Over 90 days old. Face amount = $5318879.13.              5,318,879.13                        0.00                                        0.00                    FA
           Orig. Description: A/R Over 90 days old. Face amount =
         $5318879.13.Doubtful/Uncollectible accounts = $0.;
         Imported from original petition Doc# 31

 3       USDOT License #1323104. Valuation Method: Unknow                      0.00                        0.00                                        0.00                    FA
           Orig. Description: USDOT License #1323104. Valuation
         Method: Unknown; Imported from original petition Doc#
         31

 4       Trucks & vans -in possession (see list). Valuati                      0.00                        0.00                                        0.00                    FA
            Orig. Description: Trucks & vans -in possession (see
         list). Valuation Method:; Imported from original petition
         Doc# 31

 5       2016 Bentley Continental. Valuation Method: Kell               198,500.00                         0.00                                        0.00                    FA
           Orig. Description: 2016 Bentley Continental. Valuation
         Method: Kelley Blue Book; Imported from original petition
         Doc# 31

 6       2012 Mercedes B. CLS Class. Valuation Method: Ke                 25,000.00                        0.00                                        0.00                    FA
           Orig. Description: 2012 Mercedes B. CLS Class.
         Valuation Method: Kelley Blue Book; Imported from
         original petition Doc# 31



                                                                                                                                              Printed: 05/26/2020 11:41 AM   V.14.60
                                    Case 17-16011        Doc 224        Filed 06/02/21 Entered 06/02/21 18:06:56                     Desc Main
                                                                         Document     Page 2 of 5
                                                                                     Form 1                                                                                Page: 2

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         17-16011 DDC                                                               Trustee: (330129)           Ira Bodenstein
Case Name:           I LOAD, INC.                                                               Filed (f) or Converted (c): 07/19/17 (c)
                                                                                                §341(a) Meeting Date:       08/29/17
Period Ending:       03/31/20                                                                   Claims Bar Date:            07/18/18

                                1                                            2                         3                         4                   5                     6

                       Asset Description                                 Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                          and Other Costs)                                                  Remaining Assets

 7       2015 Ferrsri 458 CPE. Valuation Method: Edmunds                   245,000.00                           0.00                                      0.00                    FA
           Orig. Description: 2015 Ferrsri 458 CPE. Valuation
         Method: Edmunds; Imported from original petition Doc#
         31

 8       Owner & Operators Receiveables                                    312,024.90                           0.00                                      0.00                    FA
           Orig. Description: Owner & Operators Receiveables;
         Imported from original petition Doc# 31

 9       Associated Bank Closed DIP Account (u)                                  0.00                       1,688.00                                  5,902.62                    FA
          Closed DIP Account

10       WEX Bank Litigation Against Reload (u)                                  0.00                      14,000.00                                50,000.00                     FA
          Reload settlement

11       WEX Bank Adminstrative Expense Funding (u)                              0.00                      15,000.00                                15,000.00                     FA
          Approved per Court Order dted 10/16/17 Dkt # 169

12       Wex Bank Litigation against PAL LLC (u)                                 0.00                      10,000.00                                  7,500.00                    FA

13       Wex Bank litigation against BTS (u)                                     0.00                       5,000.00                                      0.00              5,000.00

13       Assets          Totals (Excluding unknown values)             $6,099,404.03                    $45,688.00                                 $78,402.62              $5,000.00


     Major Activities Affecting Case Closing:
               5/9/20 One claim left in district court lititgation/ XPO potential claim still pending
              4/15/19 Finish pending District Court litigation. Review claims
              03/31/2018- Asset investigation underway; special counsel retained and avoidnce actions filed.




                                                                                                                                                 Printed: 05/26/2020 11:41 AM   V.14.60
                                  Case 17-16011        Doc 224    Filed 06/02/21 Entered 06/02/21 18:06:56                    Desc Main
                                                                   Document     Page 3 of 5
                                                                                Form 1                                                                              Page: 3

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       17-16011 DDC                                                         Trustee: (330129)           Ira Bodenstein
Case Name:         I LOAD, INC.                                                         Filed (f) or Converted (c): 07/19/17 (c)
                                                                                        §341(a) Meeting Date:       08/29/17
Period Ending:     03/31/20                                                             Claims Bar Date:            07/18/18

                              1                                        2                       3                          4                   5                     6

                      Asset Description                             Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

    Initial Projected Date Of Final Report (TFR): June 30, 2019                     Current Projected Date Of Final Report (TFR): December 31, 2020




                                                                                                                                          Printed: 05/26/2020 11:41 AM   V.14.60
                                     Case 17-16011         Doc 224    Filed 06/02/21 Entered 06/02/21 18:06:56                    Desc Main
                                                                       Document     Page 4 of 5
                                                                                   Form 2                                                                                     Page: 1
                                                           Cash Receipts And Disbursements Record
Case Number:         17-16011 DDC                                                                      Trustee:         Ira Bodenstein (330129)
Case Name:           I LOAD, INC.                                                                      Bank Name:       Mechanics Bank
                                                                                                       Account:         ******8866 - Checking Account
Taxpayer ID #:       **-***0170                                                                        Blanket Bond:    $45,000,000.00 (per case limit)
Period Ending:       03/31/20                                                                          Separate Bond:   N/A

   1           2                            3                                       4                                         5                     6                     7
 Trans.     {Ref #} /                                                                                                      Receipts          Disbursements           Checking
  Date      Check #              Paid To / Received From               Description of Transaction            T-Code           $                    $              Account Balance
10/05/17       {9}        Associated Bank                     Closed DIP Account                            1229-000               511.56                                      511.56
10/31/17                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      10.00                501.56
11/06/17       {9}        Ilija Ristik                        Balance due from closed DIP account at        1229-000              2,805.06                                    3,306.62
                                                              Associated Bank
11/30/17                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      10.00               3,296.62
12/20/17      {11}        WEX Bank                            Administrative expense funding per Order Dted 1280-000          15,000.00                                   18,296.62
                                                              10/16/17 Dkt # 169
12/29/17                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      11.05           18,285.57
01/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      28.93           18,256.64
02/28/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      24.50           18,232.14
03/30/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      26.22           18,205.92
03/31/18      {10}        ReLoad, Inc                         Payment per Compromise Order dted             1241-000          14,000.00                                   32,205.92
                                                              3/22/2018 Dkt # 187
04/30/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      42.09           32,163.83
05/21/18      {12}        Foote Mielke Chavez & O'Neil LLC    PAL LLC litigation settlement                 1241-000              7,500.00                                39,663.83
05/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      54.12           39,609.71
06/29/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      55.07           39,554.64
07/12/18      {10}        Fleet One LLC                       Payment on assigned ReLoad claim under        1241-000          12,081.50                                   51,636.14
                                                              Settlement approved 3/22/18 Dkt. # 187
07/24/18      {10}        ReLoad, Inc                         Additional Payment per Compromise Order       1241-000              3,918.50                                55,554.64
                                                              dted 3/22/2018 Dkt # 187
07/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      72.63           55,482.01
08/25/18      {10}        ReLoad, Inc                         Additional Payment per Compromise Order       1241-000          20,000.00                                   75,482.01
                                                              dted 3/22/2018 Dkt # 187
08/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      85.33           75,396.68
09/28/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      57.83           75,338.85
10/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                      68.11           75,270.74

                                                                                                        Subtotals :           $75,816.62                $545.88
  {} Asset reference(s)                                                                                                                        Printed: 05/26/2020 11:41 AM     V.14.60
                                   Case 17-16011         Doc 224    Filed 06/02/21 Entered 06/02/21 18:06:56                   Desc Main
                                                                     Document     Page 5 of 5
                                                                               Form 2                                                                                      Page: 2
                                                         Cash Receipts And Disbursements Record
Case Number:         17-16011 DDC                                                                   Trustee:         Ira Bodenstein (330129)
Case Name:           I LOAD, INC.                                                                   Bank Name:       Mechanics Bank
                                                                                                    Account:         ******8866 - Checking Account
Taxpayer ID #:       **-***0170                                                                     Blanket Bond:    $45,000,000.00 (per case limit)
Period Ending:       03/31/20                                                                       Separate Bond:   N/A

   1           2                            3                                    4                                         5                     6                     7
 Trans.     {Ref #} /                                                                                                   Receipts          Disbursements           Checking
  Date      Check #            Paid To / Received From              Description of Transaction            T-Code           $                    $              Account Balance
02/20/19      101         International Sureties,Ltd        2019 Bond Premium                            2300-000                                      43.93           75,226.81
05/20/19       {9}        Associated Bank                   Additional funds from Closed DIP Account     1229-000              2,586.00                                77,812.81
02/07/20      102         International Sureties,Ltd        2020 Bond Premium                            2300-000                                      12.25           77,800.56
03/31/20                  Mechanics Bank                    Bank and Technology Services Fee             2600-000                                      62.17           77,738.39
                                                                            ACCOUNT TOTALS                                  78,402.62                 664.23          $77,738.39
                                                                                Less: Bank Transfers                             0.00                   0.00
                                                                            Subtotal                                        78,402.62                 664.23
                                                                                Less: Payments to Debtors                                               0.00
                                                                            NET Receipts / Disbursements                   $78,402.62                $664.23


                                Net Receipts :         78,402.62
                                                   ————————                                                                 Net                Net                   Account
                                   Net Estate :       $78,402.62            TOTAL - ALL ACCOUNTS                          Receipts        Disbursements              Balances
                                                                            Checking # ******8866                           78,402.62                 664.23           77,738.39

                                                                                                                           $78,402.62                $664.23          $77,738.39




  {} Asset reference(s)                                                                                                                     Printed: 05/26/2020 11:41 AM    V.14.60
